              Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 1 of 19




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:21-cr-00467 (JEB)
         v.                                   :
                                              :
ERIK RAU,               :
                                              :
                  Defendant.                  :

                      GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the Acting United States

Attorney for the District of Columbia, respectfully submits this sentencing memorandum in

connection with the above-captioned matter. For the reasons set forth herein, the government

requests that this Court sentence Erik Rau to four months’ incarceration and $500 in restitution.

    I.         Introduction

         The defendant, Erik Rau, and his codefendant, Derek Jancart,1 participated in the January

6, 2021 attack on the United States Capitol—a violent attack that forced an interruption of the

certification of the 2020 Electoral College vote count, threatened the peaceful transfer of power

after the 2020 Presidential election, injured more than one hundred law enforcement officers, and

resulted in more than a million dollars’ worth of property damage.

         Erik Rau pleaded guilty to one count of 40 U.S.C. § 5104(e)(2)(D), Disorderly Conduct in

the Capitol Building. As explained herein, a substantial jail sentence is appropriate in this case

because (1) the defendant prepared for violence by bringing Kevlar-lined gloves and a medical kit

to Washington, D.C.; (2) he was aware of the potential for violence because he responded to the

Capitol only after Jancart heard it had been “breached” and he scaled a bicycle rack as a ladder to



1
 Separately charged in United States v. Jancart, 21-cr-148, and also scheduled to be sentenced
on September 29, 2021.
                                                  1
         Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 2 of 19




reach the Capitol; (3) he encouraged and incited violence by screaming “we have you surrounded”

to the police while the forward line of the rioters broke through the police line; (4) he penetrated

the U.S. Capitol all the way to the Speaker’s conference room; and (5) he then deleted evidence

from his cell phone of his participation in the January 6 riot.

        Prior to entering the U.S. Capitol, Rau encouraged and celebrated the violence of that day,

as shown by a video recording made by Rau of the horde of rioters surging up the stairs of the

Capitol. See Exhibit 1. In that video, Rau can be heard screaming, “we have the police

surrounded!” and “we have you surrounded!” while other rioters stormed the stairs of the Capitol.

In the background of the video, other rioters can be heard screaming, “traitors gonna hang!” When

the rioters broke through the police line, Rau can be heard screaming his encouragement and

celebration, “Go, Go, Go!” and “Yeah! They just pushed through the guards!” Rau and Jancart

then advanced on the Capitol, entering through the Senate Door exactly five minutes after an

adjacent window was first breached by a rioter smashing through it with a stolen riot shield. They

walked past the shattered glass and penetrated further into the U.S. Capitol until they arrived at

Speaker Pelosi’s conference room where Rau overheard another rioter shouting to “shit on her

desk.” Undeterred by that behavior, they continued deeper into the U.S. Capitol until finally a

police officer had to bodily place her hands on Rau’s backpack to direct him out of the Capitol.

       The government recognizes that Erik Rau did not personally engage in violence or property

destruction and that he accepted responsibility early. However, the Court must also consider that

the defendant’s conduct on January 6, like the conduct of scores of other defendants, took place in

the context of a large and violent riot that relied on numbers to overwhelm law enforcement, breach

the Capitol, and disrupt the proceedings. But for his actions alongside so many others, the riot

likely would have failed. Here, the defendant’s participation in a riot that actually succeeded in



                                                  2
          Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 3 of 19




halting the Congressional certification combined with the defendant’s preparation for violence, his

celebration and incitement of the violence on that day, his successful penetration deep into the

Capitol, and his destruction of evidence renders a significant jail sentence both necessary and

appropriate in this case.

   II.      Factual and Procedural Background

                             The January 6, 2021 Attack on the Capitol

         To avoid exposition, the government refers to the general summary of the attack on the

U.S. Capitol. See ECF 9 (Statement of Offense) at 1-7. As this Court knows, a riot cannot occur

without rioters, and each rioter’s actions – from the most mundane to the most violent –

contributed, directly and indirectly, to the violence and destruction of that day. With that backdrop

we turn to the defendant’s conduct and behavior on January 6.

                   Erik Rau’s Role in the January 6, 2021 Attack on the Capitol

         On January 6, 2021, Erik Rau and Derek Jancart traveled to Washington, D.C., from their

homes in Ohio to attend the “Stop the Steal” rally. They were prepared for possible violence. Derek

Jancart brought a gas mask. See United States v. Jancart, 21-CR-148 ECF 21 at ¶ 8. Rau brought

a medical kit and Kevlar-lined gloves and wore tactical pants. Jancart also brought two-way radios.

         After attending the former President’s rally, Jancart and Rau returned to their hotel room.

According to an interview of Jancart, they left the hotel room after receiving an alert that the

“Capitol had been breached.” Jancart and Rau joined the crowd advancing on the U.S. Capitol.

         Rau and Jancart watched from the West Lawn while rioters broke through the police line

and rushed up the stairs of the U.S. Capitol. Rau video-taped the moment and can be heard

screaming on the video, “We made it up to the Capitol. . . . We have the police surrounded! We




                                                  3
         Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 4 of 19




have you surrounded!” See Exhibit 1.2 In the background of the video, rioters can be heard

screaming, “get him!” and “traitors gonna hang!” When the rioters broke through the police line,

Rau can be heard screaming his encouragement and celebration, “Go, Go, Go!” and “Yeah! They

just pushed through the guards!” Id. Jancart later obtained that video, presumably from Rau, and

posted it to Facebook.

       Rau and Jancart than approached the Capitol where, per the proffer with Rau, they used a

bicycle rack that was propped on its side to scale a wall. Shortly thereafter, Rau and Jancart entered

the Capitol Building through the Senate Door exactly five minutes after the window immediately

adjacent to the door was smashed out using a riot shield. The U.S. Capitol was first breached in

this location by a rioter who jumped through the window over the broken glass:




2
 This video was seized from Erik Rau’s Google account pursuant to a search warrant served on
Google as well as Derek Jancart’s Facebook account pursuant to a search warrant served on
Facebook.
                                                  4
         Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 5 of 19




       Exactly five minutes after the entry depicted above, Rau and Jancart entered the U.S.

Capitol through the Senate Door.3




       They turned to the right and walked past the shattered glass on the floor from the smashed-

in window. From there, Rau and Jancart traveled through the Crypt. Id. at ¶ 10.




3
  Both Rau and Jancart claim that a police officer waved them into the building. The government
has identified no evidence to support that contention and Rau readily admitted during his proffer
that the “police officer” could have been a rioter in tactical gear.
                                                5
         Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 6 of 19




       After exiting the Crypt, Rau and Jancart took the stairwell south of the Crypt to the second

floor of the Capitol and walked towards the Speaker’s conference room. Rau stepped inside of the

Speaker’s conference room while Jancart stayed outside and took a photo. Id. at ¶ 10. Rau stayed

inside the Speaker’s conference room for approximately 15 seconds. During a voluntary proffer

with the government, Rau admitted to hearing rioters in the Speaker’s conference room discussing

breaking into a glass cabinet and taking everything in it and hearing a rioter screaming to “shit on

her desk.”




       Jancart then posted the photo of the door to the Speaker’s conference room to Facebook

with the caption, “We’re In[.]” Id. at ¶ 11.




                                                 6
         Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 7 of 19




       Rau and Jancart then walked through Statuary Hall. After leaving Statuary Hall, Rau and

Jancart walked past the entrance to the House Chamber and exited through a Southeast exit of

the Capitol only after being instructed by officers to leave. Id. at ¶ 12. The footage below shows

Jancart gesticulating to a police officer while another officer bodily pushes Rau to an exit.




                                                 7
         Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 8 of 19




       In total, Jancart and Rau spent nearly 40 minutes inside of the Capitol. Both Rau and Jancart

have admitted that they knew at the time they entered the U.S. Capitol Building that they did not

have permission to do so, and they engaged in disorderly and disruptive conduct in the Capitol

Building with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress.

                             Erik Rau’s Interview and Self Surrender

       After the arrest of Derek Jancart, Erik Rau contacted the U.S. Marshal Service in an

attempt to turn himself in. Thereafter, he participated in a voluntary proffer with the FBI and the

U.S. Attorney’s Office and he voluntarily turned over his cell phone and the clothing that he was

wearing on January 6. What follows is a summary of Rau’s proffer to the FBI.

       Rau told the FBI that he joined Jancart to attend the “Stop the Steal” rally in order to

“make our voices heard.” Rau claimed that because protests sometimes involve tear gas, Rau

decided to bring a medical kit and Kevlar gloves. Rau also wore tactical pants and a hat that said,

“I lubricate my guns with liberal tears.” Jancart brought two-way radios. On the morning of

January 6, 2021, Rau and Jancart attended the rally. They heard Donald Trump Jr. and former

President Donald Trump speak. They left approximately 15 minutes before the speech was over

and returned to their hotel room. Jancart then told Rau that everyone was headed to the Capitol

and they decided to go to the Capitol.4 Rau claimed that they walked past what looked like a

giant pool of blood. Rau saw people up on the stairs and on the scaffolding. Rau saw a line of

police officers and heard other rioters say to spread out. They went to their left, around the trees,

and Rau saw other rioters go behind the trees and behind the officers. Rau admitted to taking a

video from there. Then, during filming, Rau stated the officers took off running up the stairs and




4
 Jancart admitted, during a post-arrest interview with the FBI, that they traveled to the Capitol
after hearing it had been “breached.”
                                                  8
            Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 9 of 19




everyone else started running up the stairs and he stopped the recording. This video was likely

Exhibit 1, discussed supra. Rau stated that they moved to the bottom of a wall, against which

someone had laid the bicycle fencing. They used the bicycle fence as a ladder to scale the wall

and from there found themselves on the steps of the Capitol.

           Rau first claimed that a police officer waved them into the Capitol. When pressed, he

admitted that it could have been a civilian wearing combat gear. They entered the Capitol, which

was “stuffed with people.” They traveled through the Capitol and passed someone directing

rioters to split up inside of the Capitol. They eventually approached a room labeled “Speaker of

the House.” Jancart took a photo and Rau took two steps inside and looked around – there were

glasses of water left on the table. People were “saying insane stuff.” Rau admitted to hearing

other rioters discussing smashing a cabinet and stealing things and taking a “shit on her desk.”

They left the conference room and Rau recalled hearing people screaming that someone had been

shot. Rau claims that a police officer told him it was time to go and placed her hand on his

backpack to escort him out. Rau described seeing another rioter then fight with that female police

officer.

           Rau admitted to deleting text message threads from his cell phone including the text

message thread with Jancart as well as photographs contained in other text message threads. This

is corroborated by the FBI’s analysis of Rau’s cell phone; the FBI was unable to locate Exhibit 1

on Rau’s phone although it was filmed on his phone. It was, instead, seized from search warrants

on Rau’s Google account and Jancart’s Facebook account.

                                   The Charges and Plea Agreement

           On July 13, 2021, Erik Rau was charged by four-count Information with 18 U.S.C.

§§ 1752(a)(1) and (2) and 40 U.S.C. §§ 5104(e)(2)(D) and (G). On July 23, 2021, he pleaded guilty



                                                   9
           Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 10 of 19




to Count Three of the Information, charging him with a violation of 40 U.S.C. § 5104(e)(2)(D),

Disorderly Conduct in the Capitol Building. By plea agreement, Derek Jancart agreed to pay $500

in restitution to the Department of the Treasury.

   III.      Statutory Penalties

          The defendant now faces a sentencing on a single count of 40 U.S.C. § 5104(e)(2)(D). As

noted by the plea agreement and the U.S. Probation Office, the defendant faces up to six months

of imprisonment and a fine of up to $5,000. As this offense is a Class B Misdemeanor, the

Sentencing Guidelines do not apply to it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.

   IV.       Sentencing Factors Under 18 U.S.C. § 3553(a)

          In this case, sentencing is guided by 18 U.S.C. § 3553(a). Some of the factors this Court

must consider include: the nature and circumstances of the offense, § 3553(a)(1); the history and

characteristics of the defendant, id.; the need for the sentence to reflect the seriousness of the

offense and promote respect for the law, § 3553(a)(2)(A); the need for the sentence to afford

adequate deterrence, § 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct.

§ 3553(a)(6). In this case, the factors all weigh in favor of incarceration, as discussed below. The

Court should also consider the Defendant’s conduct after Jancart’s arrest when fashioning a just

sentence.

             A. The Nature and Circumstances of the Offense

          The attack on the U.S. Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was the one of

the only times in our history when the building was literally occupied by hostile participants. By

its very nature, the attack defies comparison to other events.



                                                 10
        Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 11 of 19




       While each defendant should be sentenced based on their individual conduct, as we now

discuss, this Court should note that each individual person who entered the Capitol on January 6

did so under the most extreme of circumstances. As a person entered the Capitol, they would—at

a minimum—have crossed through numerous barriers and barricades and heard the throes of a

mob. Depending on the timing and location of their approach, they also may have observed

extensive fighting with law enforcement and likely would have smelled chemical irritants in the

air. Make no mistake, no rioter was a mere tourist that day.

       Additionally, while looking at the defendant’s individual conduct, we must assess such

conduct on a spectrum. This Court, in determining a fair and just sentence on this spectrum, should

look to a number of critical factors, to include: (1) whether, when, how the defendant entered the

Capitol building; (2) whether the defendant engaged in any violence or incited violence;

(3) whether the defendant engaged in any acts of destruction; (4) the defendant’s reaction to acts

of violence or destruction; (5) whether during or after the riot, the defendant destroyed evidence;

(6) the length of the defendant’s time inside of the building, and exactly where the defendant

traveled; (7) the defendant’s statements in person or on social media; (8) whether the defendant

cooperated with, or ignored, law enforcement; and (9) whether the defendant otherwise exhibited

evidence of remorse or contrition. While these factors are not exhaustive nor dispositive, they help

to place each individual defendant on a spectrum as to their fair and just punishment.

       Rau was prepared for violence when he traveled to Washington, D.C. He brought Kevlar-

lined gloves, wore tactical pants, and carried a medical kit. When Jancart and Rau descended on

the Capitol, they knew that it would be violent. They traveled to the U.S. Capitol Building from

their hotel room only after learning that the Capitol had been “breached.” He approached the

Capitol building by climbing a bicycle rack as a ladder to scale a wall. Rau entered the Capitol



                                                11
         Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 12 of 19




building approximately five minutes after it was first breached at his location of entry. While no

police officers blocked his path, there were clear signs of violent entry. The window adjacent to

the door through which Rau passed had just been smashed out. Rau and Jancart walked directly

by a pile of shattered glass on the ground as they moved deeper into the U.S. Capitol. They would

have heard the alarm sounding throughout the Capitol Rotunda and its antechamber: a loud, high-

pitched, continuous beeping, similar to a smoke alarm. They were aware that tear gas had been

deployed.

        Rau both incited and celebrated the violence that was required to break through the police

line. When Rau screamed “we have you surrounded!” he was screaming towards police officers

who were outnumbered by at least a hundred to one, and who were engaged in hand-to-hand

combat with rioters attempting to break the line.

        While Rau himself did not participate in that physical attack, he screamed threatening

language to police officers and celebrated the violence. Jancart, too, can be heard yelling “get

him!” on the video. When the line is broken, Rau and Jancart start screaming, “go, go, go!” and

“they just pushed through the guards!” Exhibit 1 encapsulates Rau’s posture on that day – he

incited, encouraged, and celebrated the violence, and then capitalized on it by unlawfully entering

the Capitol in its wake.

        Rau admitted to having destroyed evidence by deleting photos and text messages from his

cell phone after the riot.

        Rau spent approximately 40 minutes inside of the Capitol and he did not stop at the

Rotunda, but instead moved deeper into the U.S. Capitol until he and Jancart came all the way to

the conference room of the Speaker of the House. They were undeterred by other rioters screaming

to “shit on her desk” and instead continued even further into the U.S. Capitol until they encountered



                                                 12
         Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 13 of 19




police officers who specifically told them to leave and, based on the video footage, physically

placed a hand on Erik Rau in order to escort him out of the building.

       That said, after the arrest of Jancart and search of his home, Rau took immediate steps to

turn himself into the FBI. He participated in a voluntary proffer and provided his clothing and cell

phone to investigators. Although he did not provide a full-throated apology for his actions, the

tenor of his proffer was one of contrition and regret. Rau accepted the first plea offer presented to

him and was one of the very first Capitol Riot defendants to plead guilty.

       Accordingly, as described above, although the Defendant should be lauded for turning

himself in to the FBI and taking responsibility, the nature and circumstances of the offense impel

a significant sentence of incarceration.

           B. The History and Characteristics of the Defendant

       As set forth in the PSR, Erik Rau’s criminal history consists of several juvenile offenses, a

misdemeanor traffic conviction for refusing to provide his driver’s license to a deputy sheriff and

refusing to exit his vehicle, and a misdemeanor conviction for assault for domestic violence for

which he was sentenced on May 13, 2019 to 180 days with 178 days suspended and two years of

probation. Accordingly, the defendant was on probation for domestic violence assault when he

committed the offense for which he is now being sentenced. The defendant’s commission of the

instant offense while on probation raises a serious concern for future criminal conduct, as does the

fact that the defendant has a criminal history that includes a violent offense.

       Notwithstanding the conviction for domestic violence related assault, the Defendant’s

parents and wife report that he is a dedicated son, husband, and father, with a strong work ethic.

He appears to have had a good childhood and he has the support of his family. He has maintained




                                                 13
          Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 14 of 19




employment and he provides support for his family. Additionally, Rau has been compliant with

conditions of pretrial release during the pendency of this case.

            C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

         The attack on the U.S. Capitol building and grounds, and all that it involved, was an attack

on the rule of law. “The violence and destruction of property at the U.S. Capitol on January 6

showed a blatant and appalling disregard for our institutions of government and the orderly

administration of the democratic process.”5 As with the nature and circumstances of the offense,

this factor supports a sentence of incarceration, as it will in most cases arising out of the riot on

January 6, 2021, including in misdemeanor cases. See United States v. Joshua Bustle and Jessica

Bustle, 21-cr-238-TFH, Tr. at 3 (“As to probation, I don't think anyone should start off in these

cases with any presumption of probation. I think the presumption should be that these offenses

were an attack on our democracy and that jail time is usually -- should be expected.”) (statement

of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).




5
 Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight and Reform Committee (June 15, 2021) (hereinafter “FBI Director Wray’s Statement”),
available at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf
                                                 14
         Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 15 of 19




       General Deterrence

        The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. For the violence at the Capitol on January

6 was cultivated to interfere, and did interfere, with one of the most important democratic processes

we have: the transfer of power. As noted by Judge Moss during sentencing, in United States v.

Paul Hodgkins, 21-cr-188-RDM:

       [D]emocracy requires the cooperation of the governed. When a mob is prepared to
       attack the Capitol to prevent our elected officials from both parties from performing
       their constitutional and statutory duty, democracy is in trouble. The damage that
       [the defendant] and others caused that day goes way beyond the several-hour delay
       in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70.

       The gravity of these offenses demands deterrence. This was not a protest. See id. at 46 (“I

don’t think that any plausible argument can be made defending what happened in the Capitol on

January 6th as the exercise of First Amendment rights.”). And it is important to convey to future

rioters and would-be mob participants—especially those who intend to improperly influence the

democratic process—that their actions will have consequences. There is possibly no greater factor

that this Court must consider.

       Specific Deterrence

       After the arrest of his co-defendant, Derek Jancart, Erik Rau called the U.S. Marshal

Service in an attempt to turn himself into the FBI. He voluntarily participated in a proffer with the



                                                 15
         Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 16 of 19




FBI and the U.S. Attorney’s Office and voluntarily turned over the clothing worn on January 6

and his cell phone and he consented to a search of his cell phone. When asked how he would do

things differently, he told the FBI that given the chance to do it again, he would not come to

Washington, D.C. on January 6. Although he first claimed that he was waved in by a police officer,

he relented and admitted that it could have been a rioter in tactical gear and not an actual police

officer. The Defendant accepted the first plea offer that was offered to him. Accordingly, here, the

goal of specific deterrence will be largely satisfied by this prosecution.

           E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, to assault

on law enforcement officers, to conspiracy to corruptly interfere with Congress. Each offender

must be sentenced based on their individual circumstances, but with the backdrop of January 6 in

mind. Moreover, each offender’s case will exist on a spectrum that ranges from conduct meriting

a probationary sentence to crimes necessitating years of imprisonment. The misdemeanor

defendants will generally fall on the lesser end of that spectrum, but misdemeanor breaches of the

Capitol on January 6, 2021 were not minor crimes. A probationary sentence should not necessarily

become the default. Indeed, the government invites the Court to join Judge Lamberth’s admonition

that “I don’t want to create the impression that probation is the automatic outcome here because

it’s not going to be.” United States v. Anna Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr. 6/23/2021 at

19.

       While the number of sentenced defendants is low, we have already begun to see meaningful

distinctions between offenders. Those who engaged in felonious conduct are generally more

dangerous, and thus, treated more severely in terms of their conduct and subsequent punishment.



                                                 16
        Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 17 of 19




Those who trespassed, but engaged in aggravating factors, merit serious consideration of

institutional incarceration. While those who trespassed, but engaged in less aggravating factors,

deserve a sentence more in line with minor incarceration or home confinement. After a review of

the applicable Section 3553(a) factors, the government believes that the defendant’s conduct falls

in the former category. The defendant came to D.C. prepared with Kevlar-lined gloves and a

medical kit, converged on the Capitol after learning it was “breached,” ascended a wall outside of

the Capitol using a bicycle rack as a ladder, spent 40 minutes inside the Capitol and penetrated all

the way to the Speaker’s conference room, celebrated and incited the violence required to breach

the Capitol, and destroyed evidence prior to turning himself in. Thus, this defendant should not be

compared to those who obtained a home confinement or probationary sentence.

       Here, to avoid unwarranted sentencing disparities, the Court must consider the sentence

imposed on Derek Jancart when imposing a sentence for Erik Rau. As of the filing of this

memorandum, Derek Jancart is scheduled to be sentenced immediately prior to Erik Rau. Although

they participated in the Capitol Riot together, there are some important differences between

Jancart’s and Rau’s conduct and characteristics. Rau’s conduct on January 6 was more egregious

than Jancart’s, as revealed by Exhibit 1: it was Rau who screamed “we have you surrounded!”

towards the police officers and it was Rau who screamed “go, go, go!” and “yeah, they just pushed

through the guards!” These threatening statements are akin to inciting a riot and contributed to the

environment of terror on that day. On the other hand, Jancart posted the same video to Facebook,

essentially sponsoring its content, and he can be heard laughing and cheering in the video. Further,

multiple search warrants in this case did not reveal the kind of propaganda and minimization of

the violence by Erik Rau that appear in Derek Jancart’s Facebook account. Finally, Erik Rau turned

himself in immediately after Jancart’s arrest and voluntarily provided a proffer, his clothing, as



                                                17
         Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 18 of 19




well as his cell phone. However, Rau only turned himself in after learning that Derek Jancart had

been arrested and his home searched by federal agents. Erik Rau’s proffer was substantially more

conciliatory and remorseful than the interview provided by Derek Jancart at the time of his arrest.

Both Erik Rau and Derek Jancart both accepted the first plea offer extended to them, rendering

them some of the first Capitol Riot defendants to plead guilty. Accordingly, although Rau’s

conduct on January 6 was more egregious than Derek Jancart’s based on the conduct captured in

Exhibit 1, his conduct after Derek Jancart’s arrest – both his cooperation with the prosecution and

lack of social media postings – is sufficiently mitigating that the government is recommending a

sentence of four months’ incarceration for both defendants.

        At this time, no unwarranted sentencing disparities exist, nor does the government’s

request create one.

   V.      Conclusion

        Sentencing here requires that the Court carefully balance the various factors set forth in 18

U.S.C. § 3553(a). As detailed above, some of those factors support a sentence of incarceration and

some support a more lenient sentence. Balancing these factors, the government recommends that

this Court sentence Erik Rau to four months’ incarceration and $500 in restitution. Such a sentence

protects the community, promotes respect for the law, and deters future crime by imposing

restrictions on his liberty as a consequence of his behavior, while recognizing his early acceptance

of responsibility.




                                                 18
Case 1:21-cr-00467-JEB Document 13 Filed 09/24/21 Page 19 of 19




                            Respectfully submitted,

                            CHANNING D. PHILLIPS
                            ACTING UNITED STATES ATTORNEY



                      By:
                            LESLIE A. GOEMAAT
                            MA Bar No. 676695
                            Assistant United States Attorney
                            Fraud Section
                            U.S. Attorney’s Office
                            555 4th Street, N.W., Room 5840
                            Washington, D.C. 20530
                            Office: 202-803-1608
                            Leslie.Goemaat@usdoj.gov




                              19
